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                 EXHIBIT 12
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                     Subject: MS Tech: AAPL falls on downbeat EM macro commentary and mgmt
                                pulling iPhone unit disclosure going forward. AAPL emphasizing Services
                                more fully with near-term pain vs long-term gain.
                       From: "Wigg, Thomas (IED)" <thomas.wigg@morganstanley.com>
                Received(Date): Thu, 01 Nov 2018 22:44:05 +0000
                          To: "Matt Blake" <mattblake@apple.com>
                 Attachment: image001.png
                 Attachment: image002.png
                 Attachment: image003.png
                 Attachment: image004.jpg
                 Attachment: image005.jpg
                 Attachment: image006.jpg
                 Attachment: image007.jpg
                 Attachment: image008.png
                 Attachment: image009.png
                 Attachment: image010.jpg
                 Attachment: image011.jpg
                 Attachment: image012.jpg
                 Attachment: image013.jpg
                 Attachment: image014.jpg
                        Date: Thu, 01 Nov 2018 22:44:05 +0000


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               AAPL stock has worsened to down -6% after-
               hours on downbeat macro commentary and a
               surprise management decision to pull iPhone
               unit disclosure starting next Q, which investors
               view as a negative read on unit growth going
               forward.




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               The negative EM macro commentary and overall
               muted tone are notable given AAPL's typically
               upbeat messaging, while the removal of unit
               disclosure transitions AAPL more fully to an
               installed base + Services narrative.


               ADBE got a pass for pulling subscriber
               disclosure, but was viewed as doing that from a
               position of strength vs weakness. AAPL's
               decision will be more controversial given
               disappointing C4Q guidance.


               That said, fast forward through the near-term
               pain and you can envision a scenario where the
               stock is less noisy on unit datapoints and
               investors are more focused on a SOTP story,
               especially consider incremental margin
               disclosure on the Services segment.


               Nine Key Points




               •******** Weaker Guidance: AAPL blamed a number of factors including (1) launch timing this year vs
               last year which implies some pull-forward into C3Q and more 'pronounced' ASP growth in C3Q vs tougher
               in C4Q for the high end of the portfolio, (2) almost $2B of FX headwind given currencies that have
               weakened, (3) uncertainty of supply-demand given a number of products ramping in the last six weeks,
               and (4) some macro uncertainty, particularly in emerging markets.




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               •******** Emerging Market Weakness: Surprisingly, AAPL blamed Turkey, India, Brazil and Russia,
               but *not* China, which is constructive from a demand standpoint but could also represent another shoe to
               drop. Management said that EM currency weakness resulted in raising prices in certain markets that
               are not growing the way they would like to see. India was flat in the Q vs what should be a 'huge growth'
               market. Brazil was down somewhat y/y. In general, management said that 'clearly consumer
               confidence is not as high as it was 12-months ago' in some emerging markets.




               •******** China + App Store: AAPL would *not* put China in the weaker EM bucket above given very
               strong growth +16% last Q, including double digit iPhone growth and strong 'Other' growth. AAPL did
               acknowledge a moratorium on new game approvals that's hurting Tencent, but they view this as a
               domestic issue and not a factor of trade war.




               •******** Disclosure: AAPL is adding additional transparency to start reporting revenue + cost of
               sales for both total products and total services beginning next Q, which means you'll be able to see
               the margin breakdown for the two segments and apply a higher multiple for the Services piece. That said,
               AAPL will no longer provide unit sales for iPhone, iPad & Mac. Much of the conference call was spent
               explaining this decision, but the gist is that there's such a wide dispersion of price points that AAPL no
               longer sees units as a representative metric.




               •******** Gross Margin + Inventory + Memory / Components: Gross margins could have been better
               given the recent NAND pricing weakness, but management said that flat margin guidance was driven by
               Memory 30bps benefit + leverage on higher DecQ seasonal volumes offset by FX weakness -90bps
               headwind and higher cost structure on new products launched in the last six weeks. Meanwhile,
               inventory was down to just under $4B, vs elevated levels of $6B in C2Q and $7.7B in C1Q, which
               suggests working through component inventory. However, non-vendor trade receivables were up
               +$13B vs up +$8B last year, which along with the weaker unit sentiment may reverse today's Semis
               rally tomorrow.




               •******** iPhone Units: Implied iPhone unit guide is tricky because the Street ASP assumptions were
               likely too high in C4Q as management talked about high-end channel fill in C3Q vs C4Q this year, in
               reversal of last year. Management implied that XS & XS Max were selling well despite the usual pause
               they might see before a new product (XR) debuts. That said, it's too early for XR demand color.




               •******** Services: This was the clear bright spot hitting $10B milestone, up +27% vs +28% last Q
               despite the headwind from China game approval freeze. AAPL reached 330M paid subscriptions on
               the platform, up +50%y/y and vs 300M last Q. Apple Pay transaction volume tripled y/y and they're
               boasting more volume than PayPal mobile at 4x the growth rate.




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               •******** App Store Risk? As Services becomes increasingly important, management got questions on
               efforts by Fortnite, NFLX & SPOT types to obviate the App Store and encourage subscriptions on the
               mobile web to avoid the 15-30% Apple tax. AAPL said that they have <0.3% exposure to any single
               developer, which reduces risk of action by one or two large content providers.




               •******** Accounting Change: Services will also get a boost from new FASB accounting standards on
               rev rec that moves some amortized deferred value of bundled services from products to services,
               but AAPL reiterated the Services growth target of doubling FY16 levels by FY20 excluding the shift.




               From: Wigg, Thomas (IED)

               Sent: Thursday, November 01, 2018 4:59 PM

               To: Wigg, Thomas (IED)

               Subject: MS Tech: AAPL guides below blaming macro weakness in some emerging markets




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               AAPL -4% DecQ rev guide weaker than expected
               ($91B midpoint vs Street $93B) into seasonally
               strong holiday Q with iPhone sell-in benefit, but
               Services remained strong at +27% growth
               despite China game freeze headwind.


               Tim Cook's quick Reuters interview after-market
               blames weakness in emerging markets (likely
               China but doesn't name), FX headwind ($2B),




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               iPhone XS/Max release in C3Q vs C4Q, and
               uncertainty as to whether they can make enough
               iPhone XR units.


               This will hurt the market tomorrow: Cook said
               that AAPL is 'seeing some macroeconomic
               weakness in some of the emerging markets'.
               That's reminiscent of Jan-2016 commentary
               blaming China weakness, which sent the stock
               down -7%.


               •******** F4Q / C3Q (Sep) print: Revenue $63B vs guide $60-62B, GM 38.2% vs guide 38-38.5%,
               iPhone units ~47M vs ~48M, ASP ~$790 vs Street ~$740.




               •******** F1Q / C4Q (Dec) guide: Revenue guide $89-93B below Street $93B (+45%q/q or below
               normal seasonality), GM guide flattish 38-38.5% (despite NAND price declines), implied iPhone unit
               guide roughly ~59-69M depending upon ASP assumptions, below Street ~78M and MS ~75M.




               •******** Services stronger than expected +27%y/y to all-time high $10B (normalized for $640M one-
               timer last year), only a slight decel vs +28%y/y last Q and against fears of a low 20s number.




               •******** China grew +16% vs +19% last Q but against a much tougher comp (last year C3Q inflected to
               positive growth after declines).




               •******** Conference Call 5ET: 888.254.3590




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               From: Wigg, Thomas (IED)

               Sent: Thursday, November 01, 2018 10:50 AM

               To: Wigg, Thomas (IED)

               Subject: MS Tech: AAPL tonight, BABA tmrw. AAPL focus on revenue guide + Services growth. BABA
               numbers have already come down substantially on macro + investments.




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               AAPL has been resilient given reasonable
               expectations for iPhone units + ASPs (flattish)
               and narrative shift toward recurring Services
               revenue.
               That said, this quarter could be tricky as China's
               game approval freeze + tough comp against
               GOOGL TAC payment pose risk to Services,
               which needs to hold high 20s growth.
               AAPL's iPhone X 'super cycle' fell short of expectations last year given premium price points that were
               too high to drive substantial unit growth, but units never went negative (beyond -1%), users stayed loyal to
               the platform (no Android defection), unit + ASP expectations ratcheted down (flattish), and Services
               accelerated to pick up the slack + expand the stock multiple.




               Investors got nervous about tariffs over the summer, but Tim Cook deserves a diplomacy award for
               dinners with Trump and keynotes in China that have kept AAPL products exempt.




               Katy Huberty flagged the risk to Services growth in the quarter, but generally sees limited downside
               to estimates given benefits from iPhone XR/XS/Max sell-in, rising iPhone ASPs, and $20B of quarterly
               buybacks.




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               •******** F4Q / C3Q (Sep) print: AAPL guided to $60-62B in revenue and 38-38.5% gross margin, with
               buy-side expectations toward the high end on both given benefits from iPhone XS/Max unit channel
               fill and lower NAND pricing to help offset margin headwind from new SKU ramp costs. The Street
               models ~48M units (+3%y/y) and ASPs $740 (+20%y/y) given premium iPhone XS/Max comparing
               against the iPhone 8/Plus in the month of September.




               •******** F1Q / C4Q (Dec) guide: This will be an important sentiment driver as a read on iPhone XR
               demand, with expectations for guidance of at least ~$92-94B revenue and flattish gross margin
               guidance to bracket Consensus expectations. The Street models iPhone units of ~78M (+1%y/y) on
               ASP $805 (+1%y/y), vs MS lower on units at 75M (-3%y/y) and higher on ASPs at $850 (+7%y/y).
               Investors assume an extreme mix shift to the iPhone XR (vs XS/Max) given price-to-performance ratio,
               though median iPhone ASPs up >20%y/y means the Street is likely too conservative.




               •******** Services: This has driven the stock's narrative and multiple expansion given Services
               acceleration from +23% in FY17 to +31% in C1Q and +31% again in C2Q (+28% normalized for one-
               timers) on the back of in-app game transactions (Fortnite, etc), 3P subscription fees (NFLX, SPOT, etc),
               and 1P services (iCloud, Apple Music, Apple Pay). That said, App Store data suggests a slowdown in
               C3Q on the back of China's new game approval freeze (Tencent down -30% YTD), while AAPL also
               faces a tough comp against last years $640M one-time catch-up payment (GOOGL). All in, the data
               suggests a Services slowdown to just +18% reported and +24% normalized, which would be negative
               for the stock given Consensus at +28% normalized or >$10B total. Katy thinks that AAPL can hold
               high 20s Services growth given conservative assumptions on Licensing and Other (-7%y/y), and views
               the China freeze as temporary in nature.




               •******** China rev growth, Inventory, Buybacks, TV Service? AAPL's China revenue should
               decelerate from +19% last Q given a tough comp against last year's inflection (C2Q17 -10% vs C3Q
               +12%) but should hold a double digit number or spark macro fears. Inventory remained elevated at $6B
               in C2Q but down from $7.7B in C1Q, with expectations for continued work down but commentary on price
               leverage in the supply chain given weak NAND + AMS type datapoints. Buybacks have been running
               consistently at ~$20B per quarter as the status quo. The subscription TV service should launch in
               1H'19 but management will be tight-lipped until ready for launch.




               •******** AAPL does not hit until 4.30ET | Conference Call 5ET: 888.254.3590

               •******** Options Implied Move: 6% | Average Move: 4.5%




               BABA numbers have already been cut
               substantially to account for weaker macro,



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               higher investment in Ele.me, and new Taobao
               app taking longer to show benefits.

               BABA tends to talk numbers down and then print a slight beat to the lowered expectation, though
               investors are more nervous about the forward outlook given China macro headwinds. Investors have
               been increasingly focused on customer management and commission revenue metrics, which are
               slowing.




               Grace Chen recently cut numbers to reflect macro risks, product transition, and investments, but
               stays bullish longer term as investments in 'New Retail' will help widen BABA's lead over rivals.




               •******** Revenues: "We forecast F2Q19 total sales of Rmb85.6bn (+55% YoY , +6% QoQ), 3% below
               consensus, reflecting softer China online retail and digital entertainment sales."




               •******** Margins: "We trim our F2Q non-GAAP EBITA forecast 6%, to Rmb24.4bn (+6% YoY, -8%
               QoQ), or 28.4% EBITA margin. We factored in full-quarter consolidation of loss-making Ele.me,
               higher investments (content for digital media and innovation initiatives), and lighter customer
               management and commission revenue."




               •******** Core Commerce: "We project F2Q19 core commerce sales of Rmb73.0bn (+57% YoY,+6%
               QoQ), with non-GAAP EBITA margin at 43.4% vs. 47.4% in F1Q19, mainly owing to full-quarter
               consolidation of Ele.me and seasonality. We project Ele.me loss of Rmb2.0-2.5bn in F2Q19 vs.
               ~Rmb1.2bn in F1Q19."




               •******** Customer Management + Commission Revenue: "We project combined customer
               management and commission sales to grow 28% YoY in F2Q19 vs. 33% in F1Q19. It is taking time
               to roll out the new Taobao app that features recommendation feeds .. We project F2Q19 customer
               management to grow 26% YoY (vs. 26% in F1Q19) and commission revenue to grow 31% YoY (vs.
               55% in F1Q19 on an easy comp), roughly in line with Tmall GMV growth. "




               •******** F2019 outlook: "We fine-tuned our F2019 sales growth forecast to 57% YoY vs. 58%
               previously, but trimmed our non-GAAP EBITA projection 5% (+18% YoY). We expect combined
               customer management and commission sales to rise 32% YoY in F2019 vs. 36% in our prior
               forecast. We expect F2Q19 non-GAAP EBITA growth of 5.8% YoY to be the trough for the year, with
               accelerating growth in subsequent quarters via rolling out the new Taobao app, scale merits, and easier
               comps. "




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               •******** BABA typically hits at 6.30ET | Conference Call 7.30ET: 845.675.0437, ID 5099548

               •******** Options Implied Move: 7% | Average Move: 4%




                      Apple, Inc. (AAPL.O)
                      China a Growing Headwind to App Store
                      Growth Near-term
                       Read Full Report



                       (PDF: 18 Pages)




                      North America




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                        Stock Rating Overweight

                        Price Target $247.00
                        Katy L. Huberty, CFA, Erik W Woodring, Elizabeth Elliott, CFA, Kieran Kenny
                        October 17, 2018




                      Sept Q App Store net revenue of $3.6B fell short of $3.8B MSe. Pause in
                      China new gaming approvals coupled with fear of economic slowdown in
                      China present a near-term overhang but we see limited downside to near-term
                      estimates and remain bullish on the long term sustainability of Services
                      growth.




                      App Store growth decelerated by 150bps in C3Q but still growing 20%+. According to data
                      compiled by Sensor Tower, Apple's App Store generated $8.4B in payments to developers in
                      the September quarter, implying App Store net revenue (what is recognized on Apple's P&L,
                      net of payments to developers) of $3.6B (+23% Y/Y), a quarterly high (Exhibit 1) but below our
                      forecast of $3.8B (+30% Y/Y originally, +32% Y/Y after Sensor Tower restatements; Exhibit 2).
                      Assuming our estimates for the other Services line items are in-line, these results imply
                      September quarter Services revenue of $9.8B (+15% Y/Y or +24% Y/Y on a normalized basis,
                      excluding the $640M favorable one-time payment from the September 2017 quarter), below our
                      current estimate of $10.0B (+18% Y/Y, +28% normalized) and below current consensus of
                      $10.1B (+19% Y/Y, +28% normalized). Coupled with slower Chinese gaming approvals,
                      decelerating gaming/luxury brand growth in China, and implications of a potentially escalating
                      trade tensions, we see China exposure as the biggest near-term risk. However, we believe that
                      many of the App Store blemishes we cite below are more temporary in nature and as a result,
                      continue to believe in the longer-term sustainability of App Store growth, which plays a
                      meaningful role in our bullish Services thesis.

                      China growth continues to decelerate while the US maintains 30%+ growth and Japan
                      accelerates. China remains the single largest revenue generating country for the App Store,
                      producing slightly more than $1B in net revenue in the September quarter and accounting for
                      29% of total App Store net revenue, slightly lower than the T12M average of 31%. China App
                      Store growth has now decelerated for 8 consecutive quarters, largely due to the after-effects of
                      a pause in gaming license approvals in the country (see next paragraph), with growth in the
                      most recent quarter falling to 16% Y/Y (Exhibit 3). On an ex-China basis, September quarter
                      App Store net revenue would have grown 26% Y/Y, implying the slowdown in China accounted
                      for 1pt of the deceleration in the quarter (Exhibit 4). In the US, App Store net revenue growth
                      decelerated to 36% Y/Y in C3Q (from 42% growth in C2Q) but remained meaningfully higher
                      than the previous 6 quarter average growth rate of 29% (Exhibit 5). Lastly, after growing at a
                      low single digit percentage for the past two quarters, Japan's App Store net revenue
                      meaningfully accelerated to 12% Y/Y in C3Q (Exhibit 6). Countries outside of the top 3 continue




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                      to become more meaningful contributors to revenue growth this year, and now account for just
                      under one-third of the App Store's net revenue growth YTD vs. just 20% in 2017. (Exhibit 7,
                      Exhibit 8).

                      Gaming growth largely unchanged from C2Q but results more mixed beneath the
                      surface. Gaming-related app downloads and in-app purchases continue to drive the majority of
                      App Store revenue, accounting for 71% of App Store net revenue in the September quarter and
                      contributing close to half of App Store Y/Y revenue growth. Globally, gaming related revenue
                      grew 13% Y/Y, a 40bps acceleration from C2Q18 (Exhibit 9), as strength in US (+25% Y/Y;
                      Exhibit 10) and Japan (+7% Y/Y, an 800bps acceleration Q/Q ; Exhibit 11) offset weakness in
                      China. While the gaming-related results in the US and Japan are encouraging, the 250bps
                      deceleration in gaming-related net revenue (from 10.4% in C2Q to 7.9% in C3Q; Exhibit 12) in
                      China is more concerning but almost certainly a direct result of the pause in gaming license
                      approvals by Chinese regulators, which started in March and will reportedly last through the rest
                      of the year, as approval responsibility shifts to the State Administration of Press and
                      Publication. For example, the Financial Times reported earlier this month that over 9,000 new
                      games were approved in 2017 in China vs just 1,932 YTD, which speaks to the severity of this
                      year's approval slowdown. And while we expect a stricter license approval policy going forward,
                      we view this slow down in China gaming-related revenue as temporary, and believe any efforts
                      on the regulatory front to speed up new gaming license approvals would be a positive catalyst
                      towards re-accelerating growth.

                      Declines in non-gaming categories weighed on growth in C3Q. Revenue growth from all
                      other categories besides gaming, such as entertainment, social networking, and music, remains
                      very strong but decelerated slightly to 60% Y/Y in C3Q, from 70%+ in the prior 3 quarters, with
                      the most notable deceleration coming from Entertainment, the second largest revenue-
                      generating category after gaming (Exhibit 13). App Store growth is increasingly dependent on
                      these categories that now contribute 57% of overall App Store growth, up from 41% in the year
                      ago quarter (Exhibit 14). In C3Q, Entertainment growth decelerated from 130% Y/Y in C2Q to
                      87% Y/Y in C3Q. Revenue growth of Social Networking and Music-related apps, the #3 and #4
                      largest App Store categories, respectively, decelerated by 5pts and 15pts in C3Q, to 23% Y/Y
                      and 37%, respectively. Bigger picture however, revenue growth from all non-gaming categories
                      is up 68% YTD, an acceleration from growth of 63% in 2017, so the slowdown in the September
                      quarter is not yet something we'd point to as a worrisome trend.

                      Overall impact to our Services thesis is limited, with Chinese new gaming license
                      approvals a key to 2019 re-acceleration. Remain OW with $247 PT. Despite the September
                      quarter shortfall in App Store net revenue vs. our estimates and the meaningful role the App
                      Store plays in Apple's Services business (it accounts for ~40% of Services revenue), we are
                      hesitant to adjust our Services revenue estimate given the potential for upside in other
                      categories. Over the past year, Licensing & Other, the App Store, and AppleCare contributed to
                      upside to our Services growth estimates. Additionally, our September quarter Services revenue
                      estimate of $10.0B assumes a 7% decline in Apple's Licensing & Other line, which includes
                      GOOGL TAC payments, which we view as potentially conservative in light of our Internet team
                      forecasting GOOGL mobile TAC payments growing 43% in the September quarter. As we
                      approach 2019, the new gaming license approval situation in China remains the most important
                      App Store-related storyline to follow, given the importance of both China and Gaming to the App
                      Store. Nevertheless we believe this issue will be temporary given the importance of the gaming
                      market in China but also expect smaller/faster growing countries to continue increasing in
                      importance, providing the end-market diversification needed to sustain App Store growth over a
                      multi-year period.

                      Note, Sensor Tower updates their Store Intelligence dataset 3-4 times per year as they
                      accumulate new publisher and developer data points over time. On a country or store level,
                      these updates result in revisions that are rarely more than low-single-digit percentage point




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                      changes in either direction. In this latest update, cumulative App Store net revenue between
                      1Q14 and 2Q18 decreased by $64M, resulting in historical App Store net revenue growth rates
                      that slightly differ from our previously published estimates. Exhibit 15 details these revisions.
                      Read more...




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                      Read Morgan Stanley Research anytime,



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                       Tech Hardware Pulse
                       What Investors Are Asking: Expectations
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                          (PDF: 33 Pages)




                        North America

                        Industry View Attractive
                        Katy L. Huberty, CFA, Elizabeth Elliott, CFA, Erik W Woodring, Kieran Kenny
                        October 25, 2018




                      We expect in-line results & guidance next week with the exception of STX,
                      where weaker cloud capex pressures the outlook, in our view. While China
                      contributed to slower Apple App Store growth, we see potential offsets
                      including iPhone sell-in & lower memory costs which put an upward bias on
                      ests.




                      Earnings Preview: Apple. Big picture, we see limited downside to our September and




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                      December quarter estimates as we are currently in an iPhone sell-in period and therefore Apple
                      has greater flexibility in meeting/outperforming expectations. For the September quarter, we
                      currently model revenue of $61B, gross margin of 38.2% and EPS of $2.75 vs. consensus of
                      $61.5B, 38.6% (above mgmt's guidance), and $2.78, respectively. As we wrote about last week,
                      we saw a deceleration in App Store results, from 25% Y/Y growth in the June Q, to 23% Y/Y in
                      the September quarter, as China growth decelerated on the back of a continued pause in new
                      gaming license approvals (Exhibit 1). However, we are hesitant to adjust our $10.0B (+18%
                      Y/Y, +28% Y/Y on a normalized basis) Services revenue estimate lower given the potential for
                      upside in other categories, such as Licensing & Other, where we assume a 7% Y/Y revenue
                      decline despite our Internet team forecasting GOOGL mobile TAC payments growing 43% in
                      the September quarter. For reference, consensus currently forecasts Sept Q Services revenue
                      of $10.1B.

                      For the iPhone, our AlphaWise iPhone demand tracker, which compiles sell-through data using
                      web search analytics, currently points to sell out of 44.3M units (-2% Y/Y) in the September
                      quarter (Exhibit 2) vs. our shipment estimate of 48.3M units (+3% Y/Y) and consensus of 47.6M
                      units. Over the last 5 years, the average channel inventory fill in the September quarter has
                      been 2M units (Exhibit 3), which means our 48.3M iPhone shipment estimate would imply Sept
                      Q iPhone sell through of 46.3M (+2% Y/Y), 5% above our AlphaWise tracker. However, given
                      iPhone channel inventory is near the lower end of the 5-7 week target range and Apple
                      launched two iPhones with new OLED / 3D Sensing technology in mid-September, we believe
                      there could be a larger than seasonal channel fill this quarter. Lastly, as it relates to gross
                      margins, our 38.2% total company gross margin estimate for September assumes that iPhone
                      gross margins contract 50bps Y/Y but expand 10bps Q/Q, despite the iPhone manufacturing
                      ramp in September, as the memory price compares ease. We see upside to gross margin
                      expectations as Apple works down higher priced component inventory sitting on its balance
                      sheet.

                      As we look to December, we model total company revenue of $93.9B, a gross margin of 38.2%
                      and EPS of $4.86 vs. consensus at $93.0, 38.9% and $4.95, respectively. Given the December
                      quarter is historically a channel fill period, we believe Apple has more flexibility in setting Street
                      guidance expectations. That being said, December quarter guidance will be the most important
                      driver of investor sentiment as it provides the first read on iPhone XR demand with at least an in-
                      line guide or $92-94B key to continuing recent stock outperformance (shares -2.5% vs.
                      NASDAQ -10%, S&P 500 -9% in the last month), in our view. Our $93.9B revenue estimate
                      assumes iPhone shipments of 75.0M (-3% Y/Y) and ASP of $850 (+6% Y/Y). Consensus
                      currently models December iPhone shipments of 77.9M and an ASP of $805, implying flat
                      ASPs Y/Y, which we believe may prove conservative given the median iPhone ASP is up 22%
                      this cycle vs. last cycle. Recent iPhone XS and XS Max data points are mixed (relative strength
                      in the iPhone XS Max somewhat offset by weaker iPhone XS demand), as is supply chain data,
                      with Taiwanese iPhone component suppliers growing revenue 11% Y/Y in the September
                      quarter (a positive; Exhibit 4) but growth in August and September falling below trailing 2 year
                      seasonality (a cautious sign; Exhibit 5). However, we believe it's still too early to make a near-
                      term call on this cycle until the iPhone XR is officially available (in-store sales start Friday,
                      October 26th), considering we expect shipments of the iPhone XR to roughly equal shipments
                      of the iPhone XS and Max, combined, in FY19. Over the next few weeks we'd expect an
                      increase in noise out of the supply chain as Apple re-assesses new iPhone model demand (and
                      subsequently builds), which could limit share price upside. But longer term we still believe that
                      the strength in Services combined with rising iPhone ASPs in FY19 and $20B/quarterly
                      buybacks provide a nice set-up into early 2019.

                      Earnings Preview: Seagate. We expect Seagate to report September quarter revenue and
                      EPS in-line to slightly lower than our estimates for $3.0B and $1.57, and consensus estimates
                      for $3.0B and $1.56. Nidec results show September quarter HDD unit shipments were in-line
                      with initial forecasts, however the company decreased FY18 (ended March 2019) forecasts by
                      1%, with downside skewed to the March 2019 quarter. Western Digital reported a shortfall in




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                      September quarter HDD units with higher than expected HDD ASPs and gross margin however
                      TSR production data showed WD losing share throughout the quarter suggesting Seagate has
                      a better chance of hitting September quarter estimates. As we highlighted four weeks ago, we
                      see the industry entering a period of cloud digestion likely pressuring forward consensus
                      estimates and guidance. This trend was confirmed by WD today where weaker December
                      quarter guidance was attributed to a combination of falling NAND prices, weaker cloud demand,
                      and Intel CPU shortages. While we are calling for secular tailwinds as exponential growth in
                      data drives demand for storage over the medium- to long-term, we also believe we are entering
                      a period of cyclical pressure. Net, STX share price may be range bound until consensus
                      estimates are reset lower for the next couple of quarters. However, we see a buying opportunity
                      in the medium-term with secular trends supporting growth and shares currently trading at trough
                      multiples. For the September quarter, we model revenue grows in-line with guidance for 5%
                      Q/Q with gross margin achieving the mid-point of Seagate's long-term range, or 31%. For the
                      December quarter, we model 3% sequential growth which is modestly below guidance for 5%
                      Q/Q. Our latest analysis incorporating TSR data on HDD production through August and 2-year
                      average monthly seasonality suggests HDD revenue in the December quarter could be in the
                      range of flat to low single digits Q/Q, versus our estimate for 3% Q/Q. Guidance could be even
                      lower considering the unseasonal slowing of cloud and client drives as noted by WD. For FY19,
                      we estimate EPS of $6.07 versus consensus of $6.16 and expect Street numbers to be reduced
                      as the company digest weaker hyperscale cloud demand. In fact, WD comments that both
                      cloud and client HDD shipments will weaken over the next two quarters suggest our $4.68 bear
                      case EPS could play out. Please see Revising Estimates On Hyperscale Cloud Softening and
                      STX: NAND Price Concerns Overblown; Cloud a Bigger Near-term Risk for our views on
                      hyperscale cloud capex. We continue to view Seagate as a primary beneficiary of storage
                      demand to support the Data Era, but see a better buying opportunity post earnings and
                      potential downward revision to Street estimates. Seagate is scheduled to report earnings on
                      Friday, November 2nd, before market open.

                      Earnings Preview: Electronics for Imaging. We model 3Q18 revenue and EPS of $263M and
                      $0.49, in-line with consensus estimates of $263M and $0.50 and near the midpoint of
                      management’s revenue and EPS guidance of $260-265M and $0.47-0.53. Our 3Q18 revenue
                      forecast implies Industrial Inkjet growth of 14% Y/Y, Productivity Software growth of 7%, and
                      Fiery declines of 12%, all within management's guidance targets. EFI has successfully met their
                      guidance for Nozomi shipments in both 1Q and 2Q, and in 3Q are guiding to 7 total Nozomi
                      shipments, which at an ASP of $2.7M implies stand-alone Nozomi revenue of $19M in 3Q,
                      accounting for 13 points of Industrial Inkjet growth in the quarter. Therefore, for Industrial Inkjet
                      growth to meet our forecast, the rest of the Industrial Inkjet segment needs to post revenue
                      growth of 80bps Y/Y. In the third quarter, EFI made 4 public announcements of Nozomi
                      purchases; 1) one to Mid-America Display in St. Louis, MO, 2) one to Thai Containers Group
                      (the first Nozomi installation in Asia), 3) one to Carmel Frenkel in Israel and 4) one to Whitebird
                      in Canada. We believe the market reaction to EFI's earnings announcement will hinge first and
                      foremost on the progress of Nozomi placements/future shipment guidance (mgmt guided for 8
                      shipments in 4Q18), especially after the company raised 2018 Nozomi guidance to $65M last
                      quarter (from $60M prior). On the margin front, we model a non-GAAP gross margin of 48%,
                      down 350bps Y/Y and 170bps Q/Q, due to the mix shift towards lower margin Inkjet sales and
                      higher costs associated with the ramp of Nozomi production and the 2H launch of EFI's new h3
                      Display Graphics platform. Importantly, EFI's 3Q earnings announcement will mark the first time
                      investors hear from new CEO Bill Muir, who is taking over from longtime CEO Guy Gecht and
                      who previously served as COO at Jabil. Mr. Muir's appointment to CEO was effective October
                      15th. EFII is scheduled to report earnings on Monday, October 29th, after market close.

                      Earnings Preview: NCR. We model September quarter revenue and EPS of $1.59B (-4.6 Y/Y)
                      and $0.52, which is slightly below consensus of $1.60B and $0.54. Our revenue forecast is
                      driven by 2% Y/Y Software declines, 1% Y/Y Services growth, and 12.5% Y/Y Hardware
                      decline. Also embedded in our forecast are operating margin estimates of 24.0% (-710bps Y/Y)
                      for the Software segment, 14.6% (flat Y/Y) for the Services segment and -7.0% (-670bps Y/Y)




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                      for the Hardware segment, resulting in total company operating margins of 10.5% (-360bps
                      Y/Y). NCR lowered 2018 EPS guidance by 21% (at the midpoint) last quarter after unexpectedly
                      announcing ATM supply chain bottlenecks, delayed product launches in POS/SCO and a
                      weaker 2H18 software outlook. Most of the costs associated with addressing these issues are
                      likely to hit in 3Q, hence our downbeat outlook for operating margins this quarter. As it stands,
                      new CEO Michael Hayford has inherited a business that is facing significant near-term
                      challenges, and while we'd expect him to announce updates to some of the issues disclosed in
                      2Q, we'd expect more details to be provided at NCR's November 7th analyst day in New York.
                      In the meantime, we believe NCR is in a bit of an information vacuum, but at the minimum
                      needs to show an improvement in the ATM business in 3Q, after disclosing ATM orders and
                      backlog were up double digits exiting 2Q. We model 5% ATM hardware declines in 3Q, an
                      improvement from 21% Y/Y declines in 2Q18. NCR is scheduled to report earnings on Tuesday,
                      October 30th, after market close.

                      Earnings Preview: CDW. We model September quarter revenue and EPS of $4,234M (+8%)
                      and $1.32, which are largely in-line with consensus estimates of $4,215M and $1.34. Our 8%
                      revenue growth forecast for 3Q is driven by Corporate growth of 9% Y/Y, Small Business
                      growth of 5% Y/Y, Public growth of 4.1% (Gov’t +3%, Education +4%, Healthcare +6%) and
                      Other revenue (CDW International) growth of 20%. IT budget growth in our CIO survey dipped
                      slightly from 2Q but remains above trend line, with CIO's forecasting IT budget growth of 5% in
                      2018 and 4.9% in 2019 (above the 2016-2018 average of +4.6%), and hardware spend to
                      accelerate to 2.8% Y/Y in 2019 from 2.6% in 2018. And while we might expect some of the
                      cyclical upside from tax reform and accelerated depreciation to begin dissipating this quarter,
                      we believe CDW is likely to outperform our 3Q estimates. Similar to last quarter, we expect
                      CDW to call out positive spending trends in client devices, hyperconverged infrastructure, SaaS
                      solutions, security software, and datacenter hardware. However, there are a few dynamics this
                      quarter that may limit the ability to further raise full year estimates. The first is the impact from
                      US/China tariffs and Intel CPU shortages on 2018 guidance, after some hardware OEM's called
                      these issues out as headwinds to 4Q18 growth and margins. While management specifically
                      noted the pockets of supply chain dislocation called out in 2Q were not a result of US/China
                      tariffs, this was prior to the US administration announcing additional tariffs on some $200B of
                      goods in September. Second, the USD continued to strengthen in 3Q, and we wouldn't be
                      surprised if management revised their expectations for a 30bps FX tailwind in 2018 lower.
                      Finally, CDW is facing increasingly tougher comps in 2H18, which could limit upside for the rest
                      of the year and disappoint investors expecting momentum to continue through the end of 2018.
                      CDW is scheduled to report earnings on Wednesday, October 31st, before the market open.

                      Earnings Preview: Teradata. We expect Teradata to report results in-line with our September
                      quarter revenue and EPS estimates of $534M (+1.5% Y/Y) and $0.31, which is in-line with
                      consensus estimates of $535M and $0.31 and at the midpoint of mgmt’s guidance range of
                      $530-540M and $0.30-0.32. Our revenue growth forecast is driven by total Recurring revenue
                      growth of 9% Y/Y, Perpetual Software Licenses & Hardware declines of 25% Y/Y and
                      Consulting growth of 3% Y/Y. Over the last two quarters, Teradata has outperformed
                      consensus revenue and EPS estimates, but also simultaneously lowered 2018 EPS guidance
                      from $1.50-1.60 to $1.20-1.24 as the shift to subscription bookings accelerated faster than
                      expected (management currently forecasts subscriptions to account for 65-70% of bookings in
                      2018, up from 40-50% guidance in February). The accelerated shift to subscription/recurring
                      revenue is a positive, in our view, and we do not believe the market will penalize Teradata for a
                      weaker FY18 forecast if there is clear evidence that the business model transformation
                      continues to accelerate. While the expected margin ramp in 2H18 (+420bps 2H18 vs. 1H18) is
                      dependent on improving software mix which is difficult to predict and creates some risk, current
                      consensus expectations for below seasonal revenue growth compared to above seasonal 1H18
                      trends helps reduce risk of a meaningful guide down, in our view. Teradata is scheduled to
                      report earnings on Thursday, November 1st, after market close. Read more...




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                      Alibaba Group Holding (BABA.N)
                      F2Q19 Preview: Expect Lighter Profits
                         Read Full Report



                         (PDF: 12 Pages)




                       Asia Pacific

                       Stock Rating Overweight

                       Price Target US$220.00
                       Grace Chen, Alex Ko, Steven Tsai
                       October 9, 2018




                      We stay OW but trim our price target 8%, to US$220, to reflect softer near-
                      term profits from macro risks, product transition, and investments. We expect
                      continued investments in the new retail ecosystem to help Alibaba widen its
                      lead over rivals despite near-term margin pressure.




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                      WHAT'S CHANGED?
                      Alibaba Group Holding (BABA.N)
                      Price Target

                       From:     To:
                       US$240.00 US$220.00


                      F18e, F19e, F20e non-GAAP EPS

                       From:     To: -5%, -
                                 7%, -8%




                      F2Q preview – expect lighter sales and profits from macro risks, product transition, and
                      investments: We forecast F2Q19 total sales of Rmb85.6bn (+55% YoY , +6% QoQ), 3% below
                      consensus, reflecting softer China online retail and digital entertainment sales. We trim our F2Q
                      non-GAAP EBITA forecast 6%, to Rmb24.4bn (+6% YoY, -8% QoQ), or 28.4% EBITA margin.
                      We factored in full-quarter consolidation of loss-making Ele.me, higher investments (content for
                      digital media and innovation initiatives), and lighter customer management and commission
                      revenue. We also expect Ant Financial to accelerate investments, leading to lower profits QoQ.
                      We trim our F2Q non-GAAP net profit forecast 6%, to Rmb20.1bn (-10% YoY, -5% QoQ),
                      mainly owing to lighter EBITA.

                      Core commerce – China online retail sales growth softer amid macro forces, product
                      transition: We project F2Q19 core commerce sales of Rmb73.0bn (+57% YoY,+6% QoQ), with
                      non-GAAP EBITA margin at 43.4% vs. 47.4% in F1Q19, mainly owing to full-quarter
                      consolidation of Ele.me and seasonality. We project Ele.me loss of Rmb2.0-2.5bn in F2Q19 vs.
                      ~Rmb1.2bn in F1Q19. We project combined customer management and commission sales to
                      grow 28% YoY in F2Q19 vs. 33% in F1Q19. It is taking time to roll out the new Taobao app that
                      features recommendation feeds. We project F2Q19 customer management to grow 26% YoY
                      (vs. 26% in F1Q19) and commission revenue to grow 31% YoY (vs. 55% in F1Q19 on an easy
                      comp), roughly in line with Tmall GMV growth.

                      F2019 outlook – a year of investment amid macro risks: We fine-tuned our F2019 sales
                      growth forecast to 57% YoY vs. 58% previously, but trimmed our non-GAAP EBITA projection
                      5% (+18% YoY). We expect combined customer management and commission sales to rise
                      32% YoY in F2019 vs. 36% in our prior forecast. We expect F2Q19 non-GAAP EBITA growth of
                      5.8% YoY to be the trough for the year, with accelerating growth in subsequent quarters via
                      rolling out the new Taobao app, scale merits, and easier comps. Read more...




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